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            EXHIBIT 7
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                                                                       Page 1

1                  IN THE UNITED STATES DISTRICT COURT
2                  FOR THE DISTRICT OF MASSACHUSETTS
3                        1:21-CV-10102
4
5                                                           Vol. I
                                                            Pgs 1-33
6                                                           Ex. 1
7
        ----------------------------------
8       The Satanic Temple, Inc.                                )
9                        Plaintiff,                             )
10      V.                                                      )
11      City of Boston,                                         )
12                       Defendant.                             )
13      -----------------------------------
14
15
16
17                       REMOTE DEPOSITION OF
18                       ANNE MARIE ROUSSEAU
19                       November 16, 2022
20                       11:14       a.m.
21
22
23
        Reported By:        Lori J. Atkinson
24      Job No: MW 5572382

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1       A P P E A R A N C E S:                (Remote)
2       FOR THE PLAINTIFF:
3       Matthew A. Kezhaya Esq.
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6       Suite 300
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11      FOR THE DEFENDANT:
12      Edward F. Whitesell, Jr., Esq.
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21
22      Also Present:         Lucien Greaves
23
24


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1                        P R O C E E D I N G S

2                             ANNE MARIE ROUSSEAU,

3       having been satisfactorily identified and first duly

4       sworn by the Notary Public, was examined and testified

5       as follows:

6                        DIRECT EXAMINATION

7       BY MR. KEZHAYA:

8           Q.   Good morning, Ms. Rousseau.            How do you prefer I

9       address you?

10          A.   Ms. Rousseau is fine.

11          Q.   We have found your information in some of the

12      discovery that the City has provided us in this case.

13      You have given the invocation a good seven times as of

14      February of 2018 that we can tell.              Is that accurate?

15          A.   I believe I started doing invocations annually in

16      2012.

17          Q.   But the question posed is whether as of February

18      of 2018 you had, in fact, had given seven of them?

19          A.   Just doing the math here.           That's correct.

20          Q.   Are you familiar with the nature of this case?

21          A.   I am not.

22          Q.   Okay.     By way of brief exposition, we are suing

23      the City of Boston -- first of all, do you know who we

24      are?


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1           A.    I don't know any more than the name that I
2       received on the notice of deposition.
3           Q.    Okay.     The Satanic Temple is a nontheistic
4       religious organization that is suing the City of Boston
5       for an order to allow TST to give the same invocation
6       that you have.        That's our goal out of this litigation.
7                  Your information came out in the course of
8       discovery, essentially we issued document demands upon
9       the City.        The City provides this document, your name
10      came up.        That's how we came across your name.
11                Do you know anyone who has given more than --
12      more than, as of February 2018, seven invocations?
13          A.    I'm not privy to that information.
14          Q.    Okay.     Have you talked to anyone about this case
15      before today?
16          A.    I consulted a friend who is also a lawyer.
17          Q.    What is the name of that friend?
18          A.    Ed Burley.
19          Q.    Is Ed associated with the City at all?
20          A.    No, he is not.      He's not representing me.
21          Q.    That's no problem.
22                You had mentioned that you started giving these
23      invocations in 2012; is that correct?
24          A.    That's correct.


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1           Q.   What prompted you to start giving the

2       invocations?

3           A.   I was invited by my district city counselor,

4       Counselor Matt O'Malley.

5           Q.   Have you exclusively been invited by Matt

6       O'Malley?

7           A.   Yes.

8           Q.   How many of these invocations have you given?

9           A.   So I believe I gave one annually from 2012 to

10      2020.

11          Q.   You mentioned annually, I saw in some of the

12      materials that I have been given by my client that three

13      of them were in October.        The dates that I have been

14      given is October 31st of 2012, October 23rd of 2013, and

15      October 8th of 2014.      Is that consistent with your

16      recollection?

17          A.   Yes, it is.

18          Q.   Were they always in October?

19          A.   I don't believe so.       I don't have -- my Outlook

20      doesn't go back that far, but I don't think they were

21      always in October.

22          Q.   I see you looking down.         Are you looking at some

23      kind of notes or something to that effect?

24          A.   I'm just looking at the -- I just pulled out the


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1       last time I did an invocation and what I wrote, so I had

2       it.        The last time I did it was on 2020 over Zoom.

3             Q.     Do you know when in 2020 by chance?

4             A.     I don't.   I don't have a date on this.

5             Q.     You mentioned that in 2012, you had been invited

6       by Matt O'Malley, how did that invitation arise?

7             A.     I don't remember if he asked me in person or via

8       email, but he asked me if I would like to give the

9       invocation at a City Council meeting, and I said yes.

10            Q.     Did you ask any additional information of him?

11      What it would entail?         Anything to that effect?

12            A.     No.   I have seen City Council meetings before so

13      I was used to the practice of an invocation occurring at

14      the start of the Wednesday meetings.

15            Q.     What had prompted you to go to the meetings

16      before?

17            A.     I'm very involved in my community.         I live in

18      Jamaica Plain, which is a neighborhood of Boston.               I'm

19      co-chair of the Ward 11 Democratic Committee.               I am one

20      of the founders of JP progressives, which is a local

21      community-based organization that is concerned about

22      issues and electing progressive candidates.

23                   In 2012, I was also an on-call minister at Hope

24      Central Church in Jamaica Plain.               I had been a chaplain


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1       at another organization.         I also have been working at

2       Metro Housing Boston now for currently over 25 years.              I

3       knew the councilor personally, had interacted with him

4       many times.

5           Q.   Let's start with JP Progressives, what is -- you

6       mentioned that it is a political organization of some

7       sort.    Is that true?

8           A.   It is a little neighborhood organization with,

9       you know, voluntary runs that we have forums on issues

10      and candidates.

11          Q.   Is it fair to call it kind of like a Town Hall

12      sort of meetings?

13          A.   Yes, most of our -- yes.           Yes.

14          Q.   And I gather it is progressive in nature.          Does

15      JP stand for anything any particular?

16          A.   Jamaica Plain.

17          Q.   Then you also mentioned that you are on Board 11,

18      I think you said?

19          A.   Yes.   Boston's Ward 11 Democratic Committee.

20          Q.   Ward 11.   I apologize.

21               You say "committee," this is some kind of a

22      government organization, I assume, is that correct?

23          A.   It is part of the -- it is part of the Mass.

24      Dems, Massachusetts Democratic party.


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1                There are ward committees or Town committees that

2       are democratic.      There are also republican ward

3       committees or town committees.

4           Q.   Then you also mentioned that you in 2012 were an

5       on-call minister at Hope Central Church; is that

6       correct?

7           A.   That's correct.

8           Q.   Tell me what Hope Central Church is?

9           A.   Hope Central Church is a church located in

10      Jamaica Plain.      It is -- I am ordained in the United

11      Church of Christ.       That is the denomination.        It also --

12      it is a bidenominational church.             But my representation

13      was as the United Church of Christ minister.

14          Q.   You mentioned it is bidenominational.           I presume

15      that means there is another denomination?

16          A.   Yes.    And the Disciples of Christ is the other

17      denomination.      It is a yoke church, I guess you would

18      call it.

19          Q.   Okay.    And you mentioned that you were an on-call

20      minister, how does that work?

21          A.   Non-stipend.     When the minister was on vacation,

22      I could fill in if there was a pastoral emergency.

23               I served on a couple of committees.           I'm no

24      longer active in that church, but I served on a couple


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1       of small committees?

2           Q.   So how did you come to be an on-call minister for

3       that church?

4           A.   I had actually gone to seminary with the pastor

5       of that church and she asked me if I could help fill in

6       for her.        I was worshiping there at the time, so I said

7       yes.

8           Q.   Is your vocation in the clergy?

9           A.   I am bivocational.        I was -- I have been an

10      outreach -- a in -- a nonstipend outreach minister at

11      the congregational church in Needham.                 I was -- for over

12      13 years, I was a chaplain at what was Germaine

13      Lawrence, which was a residential school and program for

14      young girls that was located in Arlington.

15               And I have done that work since -- I attended the

16      Episcopal Divinity School and graduated in 1993 and then

17      was ordained in the United Church of Christ.

18          Q.   You mentioned that you are bivocational, and I

19      believe that this has something to do with this Metro

20      Housing Boston; is that correct?

21          A.   Yes.      I'm the chief financial officer.

22          Q.   Tell me about Metro Housing Boston, what is this?

23          A.   It is a regional nonprofit housing organization

24      that receives funding from the state, City of Boston and


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1       other entities that -- to perform, you know, rental

2       assistance, emergency assistance.             We have many programs

3       large and small.      What would probably be most familiar

4       would be to you what is commonly referred to as a

5       Section Eight program.       So we administer that for Boston

6       in 29 areas, cities, and towns for the Commonwealth of

7       Massachusetts.

8           Q.   So this isn't Boston specific.              It extends

9       outside of Boston as well?

10          A.   Right.    It's metropolitan Boston area.

11          Q.   Okay.    That makes sense.

12               So you mentioned earlier you started giving these

13      invocations in 2012.      You had previously been familiar

14      with Matt O'Malley, is that a correct recitation of your

15      testimony?

16          A.   I had actually volunteered on his campaign when

17      he was running for City Council.

18          Q.   When did he run for City Council?

19          A.   I would have to look that up.              I think it was

20      2009.    I'm not sure on that.

21          Q.   I was trying to understand if that's how you came

22      to meet him.      Is that how you came to meet him?

23          A.   I came to meet him at various places in Jamaica

24      Plain at people's houses.        At Doyle's, which was a local


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1       institution.        You know, I was -- as I said I was very

2       involved in the community.           I would run across him

3       often.

4           Q.    You are familiar with other city politicians as

5       well?

6           A.    I have volunteered on many campaigns.              Yes, you

7       know, I have met many of them.             I have volunteered on

8       senator campaigns, mayoral campaigns.                 Campaigns for

9       Congress.       Presidential campaigns.          I'm what you would

10      call an uber volunteer on campaigns, so I meet a lot of

11      people.

12          Q.    What kind of volunteering are you doing for --

13      let me backup.        In your volunteering efforts, do you

14      usually perform a specific role or is it more broad-

15      based?

16          A.    It is more broad-based.          Sometimes I have just

17      been a canvasser knocking doors or a phone bank or

18      making phone calls.        Sometimes I help to organize the

19      canvasses and the phone banks or, you know, the

20      get-out-the-vote effort.

21          Q.    The get-out-the-vote effort being, I assume, some

22      kind of media outreach to get people to vote?

23          A.    No, no.     Actually, you know, helping volunteers

24      get out and knock the doors and getting people to the


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1       poles and making phone calls and making sure there are

2       people at the poles, checking numbers and making sure

3       volunteers are fed and all that kind of stuff that

4       happens on the days leading up and including Election

5       Day.

6           Q.   So you are probably busy in the past couple of

7       weeks, I would assume, is that a fair assumption?

8           A.   Yes.   I often take vacation on Monday and Tuesday

9       before an election.

10          Q.   All right.    You came to meet O'Malley, O'Malley,

11      as I recall, sometime before 2009.             Is that correct?

12          A.   I believe so.    I believe that's when I met him.

13          Q.   Dates are usually not important unless it's -- I

14      will tell you if the date is important.             Otherwise, it

15      is vague, general timelines.

16               So about pre-2009, give or take, you meet Matt

17      O'Malley, you volunteer on his campaign.             Was the

18      election in 2009 or was that when you started

19      volunteering?

20          A.   I would really have to look that up.           I mean that

21      is public record of when he ran.            You know -- you know,

22      I knocked a few doors for him.           I did a few shifts.

23      This is the first time.

24               Actually the first time I met him -- I remember


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1       meeting him, he was standing outside of Dunkin' Donuts

2       in Jamaica Plain, getting signatures; as every candidate

3       has to do to get on the ballot.             I had a long

4       conversation with him and I signed his nomination papers

5       and I liked him and I thought he was the best candidate

6       for the job at that time.

7           Q.   Is he still a councilor?

8           A.   No, he is not.

9           Q.   All right.     When did he stop being a councilor in

10      terms of the year?

11          A.   By 2021.     So he -- the last City Council -- city

12      councilors are elected every two years.              He did not seek

13      re-election.     The last time his election was up was

14      2021.    He ceased being a councilor, I think, the

15      beginning of January, if not December 31, 2020.

16      Whenever the term rolled over.

17          Q.   Do you know who your current councilor is?

18          A.   Yes, that would be Kendra Lara, who is currently

19      the District 6 City Council.

20          Q.   Are you familiar with your current councilor,

21      Lauren, was it?

22          A.   Lara, L-A-R-A.

23          Q.   Lara.

24          A.   What was the question?


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1       shortly from 2018.

2                Okay, so 2012, you started giving the invocation.

3       You get a $75 stipend.        Did you get any other benefits?

4           A.   No.

5           Q.   These are broadcasted in some way; is that

6       correct?

7           A.   Yes, the City Council live broadcasts their

8       meetings.       There is an open meeting law, as you probably

9       are aware of in Boston.

10          Q.   In terms of, I don't know, media exposure,

11      general building of goodwill, did you notice any

12      benefits along those lines?

13          A.   No, I don't think too many people actually

14      watched the City Council proceedings.                No, I don't ever

15      recall me being mentioned in any media for giving an

16      invocation at City Council.

17          Q.   In terms of your -- well, you say you are

18      bivocational.       Do you consider one of the vocations

19      primary?

20          A.   Yes.     I don't say primary.         I mean if I didn't --

21      my faith has led me to do the work that I do in housing.

22      I don't separate them either.            My paid job is a CFO.

23          Q.   The other one is something more than a hobby,

24      something less than a job.          Is that fair to say?


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1           A.   I don't see the difference.              A chaplain is a -- a

2       chaplain usually designates someone who is not a pastor

3       in a congregation or a church.

4           Q.   So the word chaplain then doesn't necessarily

5       refer to someone's denomination, so much as the

6       organization for which they serve?                Is that fair to say?

7           A.   No.      I would say it's a role.             Such as a CFO is a

8       role.    A chaplain is a role.           A pastor is a role.        It's

9       not attached to a particular denomination.

10          Q.   Yeah.      Yeah.   That's what my understanding of the

11      word as well.

12               Going back to the invocation in 2012, you were

13      asked -- you were prompted by it.                Do you remember why

14      you were prompted in 2012 to give the invocation?

15          A.   I was invited.       And if you go back and you listen

16      to any of the invocations, Matt -- Councilor O'Malley

17      would introduce me as being an active member in the

18      community and I believe that's why I was invited.

19          Q.   So 2012, then you mentioned every year

20      thereafter, I see October 31st, 10-23 of the next year,

21      10-8 of the next year.          Actually, we had one dated

22      5-4-11 in our records.          Does that ring any bells for you

23      as well?        That could also be an error.

24          A.   It could be.       Like I said, I don't remember the


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1           A.    I don't -- I can't answer that question.             I can

2       only speak for myself.

3           Q.    You are familiar with Boston politics, are you

4       not?

5           A.    I'm familiar with Boston politics, but I guess I

6       don't understand your question.

7           Q.    The question is as to whether you would be

8       surprised to learn that Boston has a practice of

9       excluding a particular faith group from giving the same

10      invocation as you have?

11                      MR. WHITESELL:      Objection.

12          Q.    Ms. Rousseau?

13          A.    Would I be surprised that Boston excluded a

14      particular faith?      Is that what the question is?

15          Q.    Yeah, from giving the -- having the same

16      opportunity to give this invocation as you have been

17      given?

18          A.    I guess I don't see it as Boston excluding

19      anyone.     I see this as individual City Councilors having

20      the opportunity to invite people that they know.                   So I

21      -- and that are involved in the City.                I guess I'm

22      uncomfortable answering that question because I don't

23      think I -- I don't think I can and I don't think it is a

24      fair question about the practice.


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1           Q.   To give a little bit more exposition as to how we

2       got here today.     My client had demanded, at least three

3       times, to give the same invocation.                 We have case law

4       that says that they are entitled to give this invocation

5       on equal footing as any other religious group or clergy

6       member or what have you.

7                They have been consistently informed that they

8       will not be given an invocation opportunity because of

9       their identity?

10          A.   My understanding is that clergy are invited by

11      the City Councilors, so I don't know that -- I couldn't

12      demand that I give an invocation.

13               So, as I said, I don't feel like I can answer

14      your question.     It is not the way it works.

15          Q.   So it is your understanding that this is

16      something that they can pick and choose among faith

17      groups if they feel like it.          Is that your

18      understanding?

19          A.   If -- they can choose people that they know and

20      they know are active in the community that's my

21      understanding.

22          Q.   Sure.   But the question posed is whether -- if

23      they felt like it, they could exclude someone because of

24      their religious identification.


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1                        MR. WHITESELL: Objection.

2           Q.   Correct?

3           A.   I don't see this as excluding -- this is just my

4       personal opinion.      I don't think it is a question of

5       excluding anyone.      I think it's a question of inviting

6       people, so I don't feel like I can answer your question.

7           Q.   Let me rephrase it.       If they did not feel like

8       inviting someone because of their particular faith

9       group, they could do that, in your opinion?

10          A.   I don't see how my opinion matters.         But, you

11      know, I guess you would have to ask the City Councilor.

12          Q.   One of the people that we have been told no by

13      explicitly was now Mayor Wu.

14               Do you know of anything of Wu's predilection to

15      inviting any particular faith groups?

16                      MR. WHITESELL:     Objection.

17          A.   I don't.    I don't know.       I don't know how she

18      makes her decisions.

19          Q.   In order for me to get that information, I would

20      have to ask Wu, wouldn't I?

21          A.   Yes.

22                      MR. KEZHAYA:     No further questions.     Pass

23      the witness.

24                      MR. WHITESELL:     I don't have any questions.


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1                        MR. KEZHAYA:     Ms. Rousseau, thank you so

2       much for your time.       Do you have any -- well, if you

3       have any questions for me, feel free to reach out.                 Do

4       you have City of Boston counsel's contact information?

5                        THE WITNESS:     It was included in the emails

6       that you sent.

7                        MR. KEZHAYA:     If you have any questions,

8       feel free to reach out to me.            I'm sure the same goes

9       for them as well.       Thank you very much for your time.              I

10      appreciate you.

11                       THE WITNESS:     Thank you.

12                       MR. KEZHAYA:     Actually, one last question.

13      BY MR. KEZHAYA:

14          Q.   The February 28th, 2018 is that pretty common for

15      how our invocations go?

16          A.   Yeah.     I usually write my invocations depending

17      on what is going on or what time or year something is

18      happening.

19                       MR. KEZHAYA:     All right.         Thank you for your

20      time.

21                       THE WITNESS:     Thank you.

22                       THE COURT REPORTER:        Mr. Whitesell, do you

23      need a copy?

24                       MR. WHITESELL:     Yes.


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